                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE




 UNITED STATES OF AMERICA,                             )
                                                       )
                Plaintiff,                             )
                                                       )
 v.                                                    )       No. 3:06-CR-106
                                                       )       (PHILLIPS/GUYTON)
 ROBERTO R. ANDRADE,                                   )
 TERRY STRANGE and                                     )
 BROOKE TIPTON,                                        )
                                                       )
                Defendants.                            )



                                MEMORANDUM AND ORDER

                All pretrial motions in this case have been referred to the undersigned pursuant to 28

 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

 Court as may be appropriate. This case is before the Court on the following motions filed by the

 defendant Roberto R. Andrade: (1) Motion to Sever and Memorandum in Support [Doc. 39]; (2)

 Motion to Unseal Documents [Doc. 40]; (3) Motion to Suppress Fruits of Wiretaps and

 Memorandum in Support [Doc. 41]; and (4) Motion to Adopt Motions of Co-Defendants [Doc. 47].

 Defendant Andrade entered a guilty plea before United States District Judge Thomas W. Phillips on

 January 5, 2007. [See Doc. 55]. Accordingly, Defendant Andrade’s pending motions [Docs. 39,

 40, 41, and 47] are DENIED AS MOOT.

                The defendant Terry Strange filed a Motion to Sever [Doc. 44] and a Motion to

 Suppress Evidence Obtained as a Result of Title III Wiretaps [Doc. 45]. The Court notes that




Case 3:06-cr-00106-TWP-HBG            Document 58          Filed 01/08/07    Page 1 of 2      PageID
                                            #: 20
 Defendant Strange also entered a guilty plea on January 5, 2007. [See Doc. 52]. Accordingly,

 Defendant Strange’s pending motions [Docs. 44 and 45] are DENIED AS MOOT.

               The defendant Brooke Tipton filed a Motion to Suppress Wire Communications

 Intercepted from “Target Telephone #2” [Doc. 42], with a Memorandum in Support [Doc. 43], and

 a Motion to Adopt Motions Filed by Defendants Andrade and Strange [Doc. 46]. The Court notes

 that Defendant Tipton entered a guilty plea on November 22, 2006. Accordingly, Defendant

 Tipton’s pending motions [Docs. 42 and 46] are DENIED AS MOOT.

               IT IS SO ORDERED.

                                           ENTER:


                                                 s/ H. Bruce Guyton
                                           United States Magistrate Judge




                                              2


Case 3:06-cr-00106-TWP-HBG          Document 58      Filed 01/08/07    Page 2 of 2     PageID
                                          #: 21
